Case 1:20-cv-23223-BB Document 11 Entered on FLSD Docket 08/21/2020 Page 1 of 2



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                            Case No. 0:20-cv-23223-BB

 DRAGAN JANICIJEVIC, on his own
 behalf and on behalf of all other similarly
 situated crew members working aboard
 BAHAMAS PARADISE CRUISE LINE
 vessels

          Plaintiffs,
 v.                                                                CLASS ACTION

 CLASSICA CRUISE OPERATOR, LTD.,
 PARADISE CRUISE LINE OPERATOR
 LTD. INC., a/k/a PARADISE CRUISE LINE
 OPERATOR LTD. d/b/a BAHAMAS
 PARADISE CRUISE LINE, BPCL
 MANAGEMENT, LLC, d/b/a BAHAMAS
 PARADISE CRUISE LINE, LLC.,

       Defendants.
 ___________________________________/


                                          NOTICE OF APPEARANCE

          Catherine J. MacIvor, Esq., of the law firm of Foreman Friedman, P.A., hereby files her

 Notice of Appearance as Counsel for Defendants, Classica Cruise Operator, Ltd., Paradise Cruise

 Line Operator Ltd. Inc., and hereby requests that all future pleadings, motions, notices, orders and

 other documents filed by the parties and the Court be served on Ms. MacIvor.

 Dated: August 21, 2020
        Miami, FL
                                                         Respectfully submitted,

                                                By: /s/ Catherine J. MacIvor
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                                                        Catherine J. MacIvor
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Case 1:20-cv-23223-BB Document 11 Entered on FLSD Docket 08/21/2020 Page 2 of 2



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                                                       Telephone: (305) 358-6555
                                                       Attorneys for Defendants Classica Cruise Operator
                                                       Ltd. and Paradise Cruise Line Operator, Ltd. Inc.

                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the Court

 via CM/ECF on August 21st, 2020. I also certify that the foregoing was served on all counsel or

 parties of record on the attached Service List either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

 authorized to receive electronic Notices of Filing.

                                              By: /s/ Catherine J. MacIvor
                                                      Catherine J. MacIvor



                                               SERVICE LIST
                                      Janicijevic v. Paradise Cruise Line
                                               20-cv-23223-BB

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